                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI

CAROL ECKMAN,                                    )
                                                 )
               Plaintiff,                        )
                                                 )
vs.                                              )         Case No. 4:18-cv-00598
                                                 )
SMITHFIELD FOODS, INC.,                          )
                                                 )
               Defendant.                        )

                        DEFENDANT SMITHFIELD FOODS, INC.’S
                               NOTICE OF REMOVAL

       Defendant Smithfield Foods, Inc. (“Smithfield”) files this Notice of Removal of the case

filed by Carol Eckman (“Plaintiff”) in the Circuit Court of Jackson County, Missouri bearing

case number 1816-CV-15417 (the “State Court Action”), because the complaint on its face

alleges claims for relief under federal law. This Court therefore has jurisdiction over this case

pursuant to 28 U.S.C. § 1331. In support thereof, Smithfield respectfully states:

                                   FACTUAL BACKGROUND

       Plaintiff   formerly was employed by Smithfield Direct, LLC (formerly known as

Armour-Eckrich Meats LLC, a wholly-owned subsidiary of Smithfield Foods, Inc.), as the

manager of the Kansas City branch, from January 2013 until June 2015, when her employment

was terminated because of serious concerns about her performance as a manager. Plaintiff

alleges that she was terminated because of her gender and age, and in retaliation for complaining

about her manager’s conduct towards her. Her seven-count complaint, filed in the Circuit Court

of Jackson County on June 16, 2018, alleges claims for age discrimination and retaliation under

the Age Discrimination in Employment Act, 29 U.S.C. § 621, et seq., claims for sex

discrimination and retaliation under Title VII of the Civil Rights Act of 1964, as amended, 42




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U.S.C. § 2000-e2, et. seq., and analogous claims under the Missouri Human Rights Act, R.S.

Mo. §213.010 et al.

                            COMPLIANCE WITH 28 U.S.C. § 1446(a)

       Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal is accompanied by copies of all

documents filed in the State Court Action, which are attached as Exhibit A. There are not any

pending motions in the State Court Action at the time of filing this Notice of Removal. Plaintiff

filed the State Court Action on June 16, 2018, and Smithfield was served with Plaintiff’s

complaint on July 6, 2018. Smithfield did not file an answer in the State Court Action, but is

filing an answer in this Court today. This case is being removed within thirty (30) days of

Smithfield’s receipt of Plaintiff’s complaint, in accordance with 28 U.S.C. § 1446(b).

                                      VENUE IS PROPER

       Venue is proper in this district pursuant to 28 U.S.C. § 1441(a) because this district

embraces the place in which the removed action was pending.

                            STATE COURT NOTICE OF REMOVAL

       In accordance with 28 U.S.C. § 1446(d), Smithfield is serving written notice of this

Notice of Removal to all adverse parties promptly after its filing and will promptly file a copy of

this Notice of Removal with the Clerk of the Circuit Court of Jackson County, Missouri.

       Pursuant to these statutes and in conformance with the requirements of 28 U.S.C. § 1446,

Defendant Smithfield Foods, Inc. hereby removes this action from the Circuit Court of Jackson

County, Missouri on this 5th day of August, 2018.




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                                 Respectfully submitted,

                                 POLSINELLI PC

                                 By: /s/ Jason N.W. Plowman
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                                 SMITHFIELD FOODS, INC.




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                                  CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been on Plaintiff through her counsel of record this 6th day of August, 2018:

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                                             /s/ Jason N.W. Plowman



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